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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                           ENTERED
                                                                                                                 08/21/2020
                                                                       §
    In re:                                                             §     Chapter 11
                                                                       §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                            §     Case No. 20-33233 (DRJ)
                                                                       §
                                        Debtors.                       §     (Jointly Administered)
                                                                       §                      883
                                                                             Re: Docket No. ___


ORDER APPROVING DEBTORS’ EMERGENCY MOTION PURSUANT TO SECTION
     107(b) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 9018
   FOR AN ORDER AUTHORIZING THE FILING OF EXHIBITS UNDER SEAL
                                            883
                        [Related to ECF No. ___]

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), authorizing them to file under

seal certain exhibits referenced in the Debtors’ Amended Witness and Exhibits List for Hearing

Scheduled on August 21, 2020 [ECF Nos. 846, 875], all as more fully set forth in the Motion; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. §157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the




1
             A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
             Debtors’ claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor
             Chesapeake Energy Corporation’s principal place of business and the Debtors’ service address in these
             chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
2
             Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Motion were appropriate and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.     The Debtors are authorized to file unredacted versions of the Sealed Exhibits under

seal.

        2.     The unredacted Sealed Exhibits shall remain confidential, be filed under seal, and

shall be served on and made available, on a confidential basis to: (a) the Court; (b) the U.S.

Trustee; and (c) the parties as specified in the Protective Order.

        3.     The Debtors and any party authorized to receive the Sealed Exhibits shall be

authorized and directed, subject to Bankruptcy Local Rule 9037-1, to redact specific references to

the information set forth therein from pleadings filed on the public docket maintained in these

chapter 11 cases.

        4.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Local Rules.

        5.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        6.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.
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       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

    Signed: August 21, 2020.
 Dated: ___________, 2020
                                                  ____________________________________
                                                   DAVIDR.R.JONES
                                                  DAVID      JONES
                                                   UNITED  STATES  BANKRUPTCY
                                                  UNITED STATES BANKRUPTCY       JUDGE
                                                                              JUDGE
